

Matter of Yang (2020 NY Slip Op 05802)





Matter of Yang


2020 NY Slip Op 05802


Decided on October 15, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 15, 2020

PM-137-20

[*1]In the Matter of Betty Xi Yang, an Attorney. (Attorney Registration No. 4779559.)

Calendar Date: October 5, 2020

Before: Egan Jr., J.P., Lynch, Mulvey, Devine and Aarons, JJ.


Betty Xi Yang, Dallas, Texas, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Betty Xi Yang was admitted to practice by this Court in 2010 and lists a business address in Dallas, Texas with the Office of Court Administration. Yang now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it defers to this Court's discretion as to Yang's application.
Upon reading Yang's affidavit sworn to June 30, 2020 and filed July 6, 2020, and upon reading the September 30, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Yang is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Egan Jr., J.P., Lynch, Mulvey, Devine and Aarons, JJ., concur.
ORDERED that Betty Xi Yang's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Betty Xi Yang's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Betty Xi Yang is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Yang is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Betty Xi Yang shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.	








